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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

Gary Anderson,

         Plaintiff,                                    Civil Action No. 19-11282

vs.                                                    HON. BERNARD A. FRIEDMAN

Lieutenant Alexis Holmes,
et al.,

         Defendants.
                                /


                                    ORDER OF DISMISSAL

                 On July 12, 2022, Mediator James Rashid informed the Court that the parties have

reached a settlement agreement. Accordingly,



                 IT IS ORDERED that the complaint is dismissed with prejudice and without

costs, interest or attorney fees. The Court retains jurisdiction for a period of sixty days from the

date of this order to enforce all terms of the parties’ settlement agreement.




                                                   s/Bernard A. Friedman
Dated:     September 29, 2022                      Bernard A. Friedman
           Detroit, Michigan                       Senior United States District Judge
